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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :       Case No:
                                               :
               v.                              :
                                               :       VIOLATIONS:
                                               :
DAVID LEE JUDD,                                :       18 U.S.C. § 111(b)
                                               :       (Assaulting, Resisting, or Impeding
                                               :       Certain Officers or Employees)
                                               :
               Defendant.                      :       18 U.S.C. § 231(a)(3)
                                               :       (Civil Disorder)
                                               :

               AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
                           AND ARREST WARRANT

       I, Tonya Sturgill Griffith, being first duly sworn, hereby depose and state as follows:

                                   PURPOSE OF AFFIDAVIT

       1.      This Affidavit is submitted in support of a Criminal Complaint charging DAVID

LEE JUDD (“JUDD”) with violations of 18 U.S.C. §§ 111(b), 231(a)(3).

                                    AGENT BACKGROUND

       2.      I have been employed as a Special Agent of the FBI since February 2002 and am

currently assigned to the Washington Field Office’s Child Exploitation Task Force. Since

joining the FBI, I have investigated violations of federal law involving organized crime, drug

trafficking, extra-territorial crime and terrorism and I currently investigate federal violations

concerning child pornography and the sexual exploitation of children. I have gained experience

through training and work related to conducting these types of investigations.

       3.      I am one of the investigators assigned to an ongoing investigation by the FBI,

United States Capitol Police (“USCP”), Metropolitan Police Department (“MPD”), and other law

enforcement agencies, of riots and civil disorder that occurred on January 6, 2021, in and around
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the United States Capitol grounds. Since I became involved in this investigation on January 6,

2021, I have conducted interviews, reviewed public tips, reviewed publicly available photos and

video, and reviewed relevant documents, among other things.

       4.      The facts in this affidavit come from my review of the evidence, my personal

observations, my training and experience, and information obtained from other law enforcement

officers and witnesses. Except as explicitly set forth below, I have not distinguished in this

affidavit between facts of which I have personal knowledge and facts of which I have hearsay

knowledge. This affidavit is intended to show simply that there is sufficient probable cause for

the requested arrest warrant and does not set forth all of my knowledge about this matter.

                                         BACKGROUND

       5.      On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, located at First Street Southeast, Washington, District of Columbia.

During the joint session, elected members of the United States House of Representatives and

Senate met in the United States Capitol to certify the vote count of the Electoral College for the

2020 Presidential Election, which took place on November 3, 2020.

       6.      The United States Capitol is secured 24 hours a day by security barriers and

USCP occupy various posts throughout the grounds. Restrictions around the United States

Capitol include permanent and temporary security barriers and posts manned by USCP. USCP

officers wore uniforms with clearly marked police patches, insignia, badges, and other law

enforcement equipment. Only authorized people with appropriate identification are allowed

access inside the United States Capitol. On January 6, 2021, the exterior plaza of the United

States Capitol was also closed to members of the public.

       7.      The January 6, 2021, joint session began at approximately 1:00 p.m. Shortly

thereafter, by approximately 1:30 p.m., the House and Senate adjourned to separate chambers to
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resolve a particular objection. Vice President Michael R. Pence was present and presiding, first

in the joint session, and then in the Senate chamber.

       8.      As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the United

States Capitol. As noted above, temporary and permanent barricades were in place around the

exterior of the United States Capitol building and USCP were present, attempting to keep the

crowd away from the Capitol building and the proceedings underway inside. As the certification

proceedings were underway, the exterior doors and windows of the Capitol were locked or

otherwise secured.

       9.      At approximately 2:00 p.m., certain individuals in the crowd forced their way

through, up, and over the barricades, and past officers of the USCP, and the crowd advanced to

the exterior façade of the building. The crowd was not lawfully authorized to enter or remain in

the building and, prior to entering the building, no members of the crowd submitted to security

screenings or weapons checks by the USCP or other authorized security officials.

       10.     A short time later, at approximately 2:20 p.m., members of the United States

House of Representatives and United States Senate, including the President of the Senate, Vice

President Pence, were instructed to—and did—evacuate the chambers. As such, all proceedings

of the United States Congress, including the joint session, were effectively suspended until

shortly after 8:00 p.m. the same day. In light of the dangerous circumstances caused by the

unlawful entry to the United States Capitol, including the danger posed by individuals who had

entered the United States Capitol without any security screening or weapons check,

Congressional proceedings could not resume until after every unauthorized occupant had left the

United States Capitol, and the building had been confirmed secured. The proceedings resumed

at approximately 8:00 pm after the building had been secured. Vice President Pence remained in
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the United States Capitol from the time he was evacuated from the Senate Chamber until the

sessions resumed.

       11.     After the Capitol was breached, USCP requested assistance from MPD and other

law enforcement agencies in the area to protect the Capitol, keep more people from entering the

Capitol, and expel the crowd that was inside the Capitol. Multiple MPD officers and other law

enforcement officers came to assist.

       12.     During national news coverage of the aforementioned events, video footage

which appeared to be captured on mobile devices of persons present on the scene depicted

evidence of violations of local and federal law, including scores of individuals inside the United

States Capitol building without authority to be there.

                STATEMENT OF FACTS SUPPORTING PROBABLE CAUSE

       13.     By 2:40 p.m. on January 6, 2021, protesters had engulfed the west side of the

United States Capitol and were climbing on the scaffolding in front of building as well as various

features of the building. Although the Capitol Building had already been breached and protesters

had flooded in through several entrances, a group of MPD officers and members of the USCP or

other agencies had been able to hold their position and deny entry through the very prominent

entrance of the Lower West Terrace. To enter the United States Capitol through the Lower West

Terrace, one must walk through a short tunnel with a series of glass doorways. Around 2:40

p.m., a group of officers were maintaining a line at the second set of glass doors inside the

tunnel. Officers reporting to the scene rushed to the tunnel from within the building while

protesters outside of the tunnel continued to summon more men to push their way through the

tunnel. A growing number of protesters made their way into the tunnel with a variety of tools

and weapons. The tunnel became the point of an intense and prolonged clash between protesters

and law enforcement at the United States Capitol. Many of the protesters in the tunnel were
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recording video and many of the videos circulated and continue to circulate on Internet channels,

social media, and the news.

       14.       Portions of the rioters’ effort in the tunnel to get through the Lower West Terrace

doors were captured both in video surveillance from USCP camera in the tunnel and in video

footage posted to YouTube (hereinafter, YouTube Video 1). In YouTube Video 1, which was

reviewed by your affiant, a large group of rioters attempted to break through the line of

uniformed law enforcement officers who were in place to prevent rioters from entering the

Lower West Terrace door of the United States Capitol Building. Law enforcement officers were

at the front of the doors inside the tunnel attempting to stop numerous rioters from gaining access

to the U.S. Capitol.

       15.       Around 2:52 p.m., 1 YouTube Video 1 shows a white male with curly blonde hair

wearing a red “Make America Great Again” baseball hat backwards, a black hoodie and a grey

vest, who was subsequently identified as JUDD, as explained below, to the side of the entrance

of the tunnel.

       16.       Then, at approximately 2:56 p.m., JUDD can be seen in surveillance footage

going into the tunnel with additional rioters walking toward the line of law enforcement guarding

the Lower West Terrace doors, as shown in the still image below with a red rectangle added

around JUDD.




1
 This time is approximate and based on a review of the EXIF data for the related video and a
comparison to the timestamp for available surveillance video capturing the same events.
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       17.     JUDD then joins the group as the rioters push in unison against the officers. As

captured in video filmed on the phone held by a rioter standing next to JUDD in the tunnel,

multiple rioters can be heard yelling “ready, heave” as the group pushes in unison.

       18.     Then, at approximately 2:58 p.m., JUDD can be seen in USCP surveillance

footage turning around and exiting the tunnel. For the next few minutes, JUDD can be seen near

the arch, occasionally waving others in and yelling.

       19.     Around 3:06 p.m., USCP surveillance video shows JUDD near the crowd outside

the arch entrance of the Lower West Terrace tunnel. In another video filmed outside of the arch

around the same time and posted to YouTube (hereinafter, YouTube Video 2), JUDD can be

seen next to another rioter (RIOTER 1) yelling for the crowd to pass back the stolen riot shields

in order to make a “shield wall.” JUDD can also be seen yelling “shield wall” as he pumps his

fist in the air in YouTube Video 2, as shown in the still below with a red box added around
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JUDD. (The same can then be heard and seen inside the tunnel in YouTube Video 1, where

RIOTER 1 can be heard instructing the front line of rioters to make a “shield wall” and

“organize,” as rioters behind them pass up shields to those facing line of law enforcement

officers guarding the Lower West Terrace doors.)




       20.     On the surveillance video looking out through the arch, around 3:06 p.m., JUDD

is seen helping move at least two shields into the tunnel and pass them to another rioter in front

of him, as shown in the still below with a red circle around JUDD.
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       21.     Moments later JUDD can be seen on the surveillance footage walking into the

tunnel. He then lights an object on fire and throws it at the line of law enforcement officers who

are guarding the Lower West Terrace doors to the United States Capitol Building, as shown in

the three stills below. He then immediately turns and walks out of the tunnel. As captured in

another video filmed inside the tunnel and originally posted to YouTube (hereinafter, “YouTube

Video 3”), an unidentified member of the crowd (who can be seen standing next to JUDD in

surveillance video when he throws the item) can be heard yelling: “You going to do that and run

away! What the fuck.” When asked what the individual did, the unidentified member of the

crowd states: “He threw a firecracker, a big giant, what the ….”




       22.     As seen on USCP surveillance video, JUDD then stays at the entrance to the

tunnel and appears to be directing the crowd to the tunnel by waiving them forward.

       23.     Additional USCP surveillance footage and many different videos posted online

show JUDD present at various locations near the arch entrance of the Lower West Terrace tunnel

for approximately the next hour. During these various videos, JUDD can be seen chanting with

the crowd, encouraging people to enter the tunnel, and assisting the rioters exiting the tunnel

wash the OC spray from their faces with water.
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       24.     One of these videos was posted to YouTube (hereinafter, “YouTube Video 4”)

covers multiple clips showing the entrance to the tunnel on the Lower West Terrace. The clips

do not include time stamps but do correspond to USCP surveillance footage of the same events.

Around timestamp 58:30 of YouTube Video 4, which corresponds to approximately 3:27 pm

based on a comparison to USCP surveillance footage showing the same events from a different

angle, JUDD can be seen standing to the side of the arch, as indicated in the red box below.




       25.     Similarly, in a video posted to Parler and then posted online, which corresponds

to USCP surveillance from around 4:14 p.m., JUDD can be seen lifting an American flag in the

air triumphantly moments after another rioter throws a long projectile at officers, as shown in the

stills below (with the projectile highlighted in a yellow rectangle and JUDD in a red rectangle).
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       26.     Then, around 4:16 p.m., as can be seen in USCP surveillance footage, JUDD once

again joins a large group of rioters pushing against law enforcement officers guarding the Lower

West Terrace doors, as shown in the still below with a red rectangle around JUDD. The rioters

push as a group against the officers for a few minutes until they are forced back out of the tunnel

by law enforcement.
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       27.     The same events are captured near the end of YouTube Video 4, where

unidentified rioters can be heard yelling “push” as the crowd all tries to push into the tunnel and

past the line of law enforcement. JUDD can be seen joining the crowd at the tunnel entrance

pushing forward toward the police line, as shown in the still below.




                                                                                        .
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                                        Identification of JUDD

       28.    On January 25, 2021, Agents in Texas spoke with Witness 1 who has met JUDD

personally. Witness 1 indicated JUDD had posted an advertisement on social media asking for a

ride to the rally and provided a contact telephone number. Witness 1 provided the following

copy of the advertisement, which is copied below with the phone number partially redacted:




       29.    Subscriber records for the phone number listed in the advertisement (XXX-XXX-

5770) show that the phone number listed is used by JUDD.

       30.    Witness 1 provided additional details about JUDD, that have all been

corroborated by law enforcement.

       31.    Witness 1 stated Photograph 137 from the FBI website is definitely JUDD.

Although Witness 1 was not shown any photos during the interview, the following is Photograph

137 that was posted to the FBI website in connection with “Seeking Information” Photograph

#137 - AFO.
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       32.     After this identification was made, Agents in Texas reached out to Witness 2, who

had known JUDD personally for several years. Witness 2 was interviewed on March 4, 2021,

and shown Photograph 137 with the agent making no mention of JUDD’s name. Witness 2

identified the individual from Photograph #137 as JUDD.

       33.     In addtion, your affiant and other investigators examined several photographs

extracted from videos recorded by protestors inside or just outside of the tunnel with photographs

of JUDD from his online accounts, as well as photos from known government sources. Based on

those comparisons, your affiant concurs that JUDD resembles the individual pictured above.


                                        CONCLUSION

       For the reasons set forth above, I submit there is probable cause to believe that JUDD

violated:

   1. 18 U.S.C. § 111(b), which makes it a crime to forcibly assault or interfere with any person

       designated in section 1114 of this title 18 while engaged in or on account of the

       performance of official duties and uses a deadly or dangerous weapon (including a weapon

       intended to cause death or danger but that fails to do so by reason of a defective
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       component). Persons designated within section 1114 include any person assisting an

       officer or employee of the United States in the performance of their official duties, and

   2. 18 U.S.C. § 231(a)(3), which makes it a crime to commit or attempt to commit any act to

       obstruct, impede, or interfere with any fireman or law enforcement officer lawfully

       engaged in the lawful performance of his official duties incident to and during the

       commission of a civil disorder which in any way or degree obstructs, delays, or adversely

       affects commerce or the movement of any article or commodity in commerce or the

       conduct or performance of any federally protected function. (“Civil disorder” means any

       public disturbance involving acts of violence by assemblages of three or more persons,

       which causes an immediate danger of or results in damage or injury to the property or

       person of any other individual. “Federally protected function” means any function,

       operation, or action carried out, under the laws of the United States, by any department,

       agency, or instrumentality of the United States or by an officer or employee thereof; and

       such term shall specifically include, but not be limited to, the collection and distribution of

       the United States mails. 18 U.S.C. §232(1).)

As such, your affiant respectfully requests that the court issue an arrest warrant for JUDD. The

statements above are true and accurate to the best of my knowledge and belief.
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                                                    Respectfully Submitted,

                                                    __________________
                                                    Tonya Sturgill Griffith
                                                    Special Agent
                                                    Federal Bureau of Investigation




Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by

telephone, this 23rd day of March 2021.                             Digitally signed by
                                                                    G. Michael Harvey
                                                                    Date: 2021.03.23
                                                                    15:14:51 -04'00'
                                                    ___________________________________
                                                    G. MICHAEL HARVEY
                                                    U.S. MAGISTRATE JUDGE
